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                           UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

In re:                                                         §
                                                               §
BOSTON HOSPITALITY GROUP, INC                                  §                 CASE NO. 1:17-00710
                                                               §
Debtor.                                                        §                 Chapter 11
-------------------------------------------------------------- § ---------------------------------------------------
In re:                                                         §
                                                               §
BEANERY 119, LLC                                               §                 CASE NO. 1:17-00711
                                                               §
Debtor.                                                        §                 Chapter 11
-------------------------------------------------------------- § ---------------------------------------------------
In re:                                                         §
                                                               §
BOSTON RESTAURANTS - PA, INC.                                  §                 CASE NO. 1:17-00712
                                                               §
Debtor.                                                        §                 Chapter 11
-------------------------------------------------------------- § ---------------------------------------------------
In re:                                                         §
                                                               §
BEANERY INVESTMENT GROUP, INC                                  §                 CASE NO. 1:17-00713
                                                               §
Debtor.                                                        §                 Chapter 11
                                                               §                 Jointly Administrated
                  Debtor(s).                                   §

                AGREED ORDER DISPOSING OF U.S. TRUSTEE’s MOTION
                           TO CONVERT OR DISMISS

Come the Debtors herein, by bankruptcy counsel Todd Johnson and John Wiley (“Debtor”),
together with James Gianola, principal and a United guarantor, (“Guarantor”), and United Bank,
the major secured creditor of Debtor, by counsel Keith Pappas (“United”), pursuant to a properly
noticed and regularly scheduled preliminary hearing upon the U.S. Trustee’s Motion to Convert
or Dismiss the within bankruptcies, and Debtor announcing it would execute the final sale of the
Debtor’s property on or by 15 July 2018, if the Court extends the time for the sale, proceeds of
which are estimated to pay the estimated $6,000 in remaining monies due the U.S. Trustee, and
upon which sums due the Debtor has already forwarded the amount of $15,000 past due thereon.
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The final sale should result in assignment or satisfaction of certain claims of United in the
bankruptcies and insure business continuance and the 85-plus jobs at three locations thereof,
upon due notice to all creditors and parties in interest, and there being no objection thereto, and
the Office of the U.S. Trustee and United agreeing thereto, the Court finds and rules upon the
proffers presented that this agreement is made and accepted by all relevant parties as witnessed
by their signatures hereto, and the Court further finding that this agreement is entered into in
good faith, the Court accepts the agreement herein set forth, finding and ruling that:


   1. The parties having agreed and announced to this Court their agreement, the Debtor shall
continue with a Chapter 11 reorganization and a final sale, subject to all of the the following
matters, as herein presented to the Court.
   2. The Debtor has prior paid the sum of $15,000 by check to the Office of the U.S. Trustee
and has and does hereby agree to pay the sum of $6,000 to the Office of the U.S. Trustee upon
the closing of the remaining sale of assets, on or by the close of business on 15 July 2018, in
accordance with the offers for the major assets of the bankrupt entities formerly accepted by
Order of this Court.
   3. Emily Holdings LLC’s remaining offer, formerly approved, shall close by said new
deadline, with United releasing all remaining debt in all bankrupt entities over and above the
sales price, and the sale preserving three business locations with 85 employees. The Court
therefore approves the, and there shall be permitted unyil the close of business on 15 July for the
same to close and monies to be mailed to the address of the Office of the U.S. Trustee below.
   4. Debtor operating reports through the remainder of the Debtor’s time in charge of
operations shall be filed by such time and thereinafter Debtor shall promptly provide the Court
and U.S. Trustee the closing packets concerning the sales.
   6. All current commercial leases to the extent not assigned and arrearages paid as agreed are
hereby declared null and void as of the entry of this order.

       WHEREFORE, the Court finds and rules that the Debtor shall proceed to sale in
accordance with all matters presented, and the sale shall proceed, upon the terms and conditions
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set forth, and the cases thereinafter moved to be converted or dismissed, as parties hereto may
agree. The U.S. Trustee’s motion shall be held in abeyance until such date.


             AND it is therefore ORDERED, ADJUDGED and DECREED, all matters herein agreed
are ruled GRANTED, and application is GRANTED for a continued sale of said assets by
15 July 2018 FREE AND CLEAR OF LIENS AND ENCUMBRANCES, subject only to
assignment of liens and claims of United Bank.



             SO ORDERED.

Prepared/Agreed by:

/s/ John F Wiley WV 4038
J Frederick Wiley, PLLC
PO Box 1381
Morgantown, WV 26507
304-906-7929

And

Todd B. Johnson WV 9261
Johnson Law, PLLC
PO Box 519
Morgantown, WV 26507

Agreed by:

United Bank, Inc. by:

/s/ K. J. Pappas by jfw w permission
Keith J. Pappas, Esq
176 Fayette Street
Morgantown WV 26505

Office of the U.S. Trustee:
 /s/ D. Wertman by jfw w permission
 Deb Wertman Esq.
Assistant U.S. Trustee
300 Virginia Street East #2025
Charleston WV 25301
